 Case 18-80027-hb Doc 20-1 Filed 09/18/18 Entered 09/18/18 14:59:59 Desc
      Memorandum in Support of Motion for Summary Judgment Page 1 of 4


                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA

IN RE:                                      )         CHAPTER 7
                                            )
Cornerstone Enterprises of Greenwood, Inc., )         Case No. 17-03127-hb
                                            )
                     Debtor,                )
                                            )
_______________________________             )         Adversary No. 18-80027-hb

John K. Fort, Trustee,                        )
                                              )       PLAINTIFF’S MEMORANDUM IN
                Plaintiff,                    )       SUPPORT OF SUMMARY JUDGMENT
                                              )
         vs.                                  )
                                              )
Earl Brewington,                              )
                                              )
            Defendant.                        )
_______________________________               )

         Comes now Plaintiff, John K. Fort, Trustee, by and through counsel, and hereby submits

the foregoing legal memorandum in support of his Motion for Summary Judgment against

Defendant. For the reasons set forth herein, Plaintiff’s Motion for Summary Judgment should be

granted.

                                   STATEMENT OF FACTS

         On June 26, 2017, Debtor filed a voluntary Chapter 7 petition, which initiated the present

bankruptcy. (Case 17-03127-hb, Doc 1.) Defendant received a payment from Debtor totaling

$51,237.32 on or within ninety (90) days before the Petition Date. A copy of Debtor’s bank

statement showing the wire transfer is attached hereto as Exhibit A and incorporated herein by

reference.




                                                  1
 Case 18-80027-hb Doc 20-1 Filed 09/18/18 Entered 09/18/18 14:59:59 Desc
      Memorandum in Support of Motion for Summary Judgment Page 2 of 4


                                          ARGUMENT

A.     Standard of Review

       The Fourth Circuit has laid out its standard of review for summary judgment as follows:

               A court may award summary judgment only when there is no
               genuine issue as to any material fact and the moving party is entitled
               to judgment as a matter of law. See Anderson v. Liberty Lobby, Inc.,
               477 U.S. 242, 247, 106 S.Ct. 2505, 91 L.Ed.2d 202 (1986); In re
               Apex Express Corp., 190 F.3d 624, 633 (4th Cir.1999); see also Fed.
               R. Civ. Proc. 56…. In evaluating a summary judgment motion, a
               court “must consider whether a reasonable jury could find in favor
               of the non-moving party, taking all inferences to be drawn from the
               underlying facts in the light most favorable to the non-movant.”
               Apex Express Corp., 190 F.3d at 633. In so doing, a court is not
               entitled to either weigh the evidence or make credibility
               determinations. See Anderson, 477 U.S. at 255, 106 S.Ct. 250….

In re French, 499 F.3d 345, 351-52 (4th Cir. 2007). “Once the moving party discharges its burden

by showing that there is an absence of evidence to support the nonmoving party’s case, the

nonmoving party then must come forward with specific facts showing that there is a genuine issue

for trial” Honor v. Booz-Allen & Hamilton, Inc., 383 F.3d 180, 185 (4th Cir. 2004). “The moving

party is ‘entitled to a judgment as a matter of law’ because the nonmoving party has failed to make

a sufficient showing on an essential element of her case with respect to which she has the burden

of proof” Celotex Corp. v. Catrett, 477 U.S. 317, 323, 106 S. Ct. 2548, 2552, 91 L. Ed. 2d 265

(1986). Based upon all applicable standards, summary judgment is proper for Plaintiff in this case.

B.     Debtor’s payment to Defendant constitutes an avoidable preference 11 U.S.C. § 547.

       11 U.S.C. § 547(b) reads, in relevant part:

       [T]he trustee may avoid any transfer of an interest of the debtor in property--
       (1) to or for the benefit of a creditor;
       (2) for or on account of an antecedent debt owed by the debtor before such transfer
       was made;
       (3) made while the debtor was insolvent;
       (4) made--
       (A) on or within 90 days before the date of the filing of the petition;

                                                 2
    Case 18-80027-hb Doc 20-1 Filed 09/18/18 Entered 09/18/18 14:59:59 Desc
         Memorandum in Support of Motion for Summary Judgment Page 3 of 4


           …; and
           (5) that enables such creditor to receive more than such creditor would receive if--
           (A) the case were a case under chapter 7 of this title;
           (B) the transfer had not been made; and
           (C) such creditor received payment of such debt to the extent provided by the
           provisions of this title.

It is undisputed that the transfer at issue was made within ninety days before the petition date. The

Debtor’s insolvency can also not be disputed, not only because insolvency is presumed in the

ninety days before the petition date1, but also because the Debtor has testified, through its principal,

Melvin L. Wimmer, Jr., that the Debtor did not have enough assets to pay its debts in the two years

prior to filing bankruptcy. (Wimmer Depo.2 at 12-13).

           In his Answer, the Defendant raises “Ordinary Course of Business” as an affirmative

defense under 11 U.S.C. § 547(c)(2), which reads:

           The trustee may not avoid under this section a transfer—
           …
           to the extent that such transfer was in payment of a debt incurred by the debtor in
           the ordinary course of business or financial affairs of the debtor and the transferee,
           and such transfer was--
           (A) made in the ordinary course of business or financial affairs of the debtor and
           the transferee; or
           (B) made according to ordinary business terms.

While the Defendant bears the burden of proving this, the Defendant cannot do so as there was no

course of dealing between the parties to gauge whether this transaction was “ordinary.”

           Even if the debtor's business transactions were irregular, they may be considered
           ‘ordinary’ for purposes of § 547(c)(2), (A) and (B) if those transactions were
           consistent with the course of dealings between the particular parties. …

           In applying these standards it appears that the essential preliminary question is
           whether the subject transaction was the result of any unusual action by the specific
           debtor or creditor.

In re Hoffman Associates, Inc., 194 B.R. 943, 954 (Bankr. D.S.C. 1995).


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    11 U.S.C. § 547(f)
2
    A copy of which is attached hereto as Exhibit B.

                                                       3
  Case 18-80027-hb Doc 20-1 Filed 09/18/18 Entered 09/18/18 14:59:59 Desc
       Memorandum in Support of Motion for Summary Judgment Page 4 of 4


        The transfer here was one lump sum payment from the Debtor to Defendant. There was no

prior course of dealing between these parties other than the investments Defendant had previously

made with Debtor.

                                         CONCLUSION

        The Defendant has no claim, authorized under the Bankruptcy Code or by this Court, to

the transfer he received. As such, under 11 U.S.C. § 547, the transfer of these funds should be

avoided and immediately turned over to the Plaintiff for the benefit of the Bankruptcy Estate, or a

Judgment should be entered in favor of the Plaintiff against the Defendant in the amount of Fifty-

One Thousand Two Hundred Thirty-Seven and 32/100 Dollars ($51,237.32), together with

interest, plus Plaintiff’s costs.

        In light of the foregoing, and after considering the evidence in the light most favorable to

the Defendant, the Plaintiff is entitled to summary judgment as a matter of law. There simply is no

evidence that would establish a genuine issue of material fact for trial regarding Defendant’s

transactions.

                                              Respectfully submitted,

                                              ROE CASSIDY COATES & PRICE, P.A.


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September 18, 2018

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